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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO

 REVOLAR TECHNOLOGY INC.,                             §
 a Colorado corporation,                              §
                                                      § Case No.
        Plaintiff,                                    §
                                                      §
 v.                                                   § JURY TRIAL DEMANDED
                                                      §
 911Cellular LLC                                      §
 an Ohio limited liability company,                   §
                                                      §
        Defendant.                                    §
                                                      §

                                          COMPLAINT

       Plaintiff Revolar Technology Inc. ("Plaintiff" or "Revolar"), for its Complaint with Jury

Demand for patent infringement against Defendant 911Cellular, LLC. ("Defendant" or

"911Cellular"), alleging, based on its own knowledge as to itself and its own actions and based on

information and belief as to all other matters, as follows:

                                             PARTIES

       1.      Revolar is a corporation existing under the laws of Colorado with its principal place

of business at 1518 Blake Street, Denver, Colorado 80202.

       2.      On information and belief, 911Cellular is a limited liability company organized

under the laws of the State of Ohio with its principal place of business at 6001 Cochran Road,

Suite 911, Solon, Ohio 44139. 911Cellular can be served with process by serving its agent, Chad

Salahshour, 21403 Chagrin Blvd., Suite 220, Beachwood, Ohio 44122.

                                 JURISDICTION AND VENUE

       3.      This is an action for patent infringement under the Patent Laws of the United States,

35 U.S.C. § 101, et seq.
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        4.      This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.

§§ 1331 and 1338(a) and pendant jurisdiction over the other claims for relief asserted herein.

        5.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 and 1400(b). Upon

information and belief, 911Cellular has transacted business in this district and has committed,

individually or in concert with others, acts of patent infringement in this district. In addition,

911Cellular resides in this district.

        6.      911Cellular is subject to this Court's specific and general personal jurisdiction

pursuant to due process and the Ohio Long Arm Statute. 911Cellular has general minimum

contacts with this judicial district by being incorporated in this judicial district, by transacting

business within this district—including at least a portion of the infringements alleged herein, by

placing infringing products into the stream of commerce with the knowledge or understanding that

such products are sold in the State of Ohio—including in this district, and deriving substantial

revenue from goods and services provided to individuals in Ohio and in this district. Personal

jurisdiction exists over 911Cellular.

                 THE TECHNOLOGY AND INTELLECTUAL PROPERTY

        7.      Revolar is engaged in the business of, among other things, designing, developing,

manufacturing, and distributing personal safety devices.

        8.      On February 3, 2009, U.S. Patent No. 7,486,194 ("the '194 Patent") was duly and

legally issued by the United States Patent and Trademark Office ("USPTO") for an invention

entitled "Personal Alarm System for Obtaining Assistance from Remote Recipients." See Exhibit

A, attached hereto and incorporated by reference in its entirety.

        9.      The '194 Patent (the "Asserted Patent") teaches systems and methods for

transmitting signals to a recipient, such as a contact, a monitoring center, or rescue or other



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emergency authorities, from a remote communication device.              Specifically, the invention

addresses using a triggering key to activate the interface module in the case of an emergency,

thereby causing the communication device to transmit a signal to the recipient. The "alarm system"

of the Asserted Patent comprises a communication device (such as a cell phone), a triggering key

(preferably designed to be easily carried by or attached to a user), and an interface module (which

may be combined with or a part of the communication device).

       10.     Revolar is the owner of the Asserted Patent, with all substantive rights in and to

that Patent, including the sole and exclusive right to prosecute this action and enforce the Asserted

Patent against infringers, and to collect damages for all relevant times.

                         911CELLULAR'S INFRINGING CONDUCT

       11.     911Cellular bills itself as “the leading emergency communications software

provider in the country.” 911Cellular offers a system (“the 911Cellular System”) including a

mobile application and a Bluetooth panic button.

       12.     On     information      and     belief,    911Cellular       provides   a     website

(https://www.911cellular.com/, which is incorporated herein by this reference) through which

911Cellular markets the 911Cellular System, including the “911Cellular Bluetooth Panic Button”

shown below:




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See   https://www.911cellular.com/bluetooth-panic-buttons/.       On    information    and    belief,

911Cellular sells 911Cellular Panic Buttons to its customers in the United States, either directly or

through a third-party intermediary/distributor.

       13.     The 911Cellular Bluetooth Panic Button is used with one or more mobile

applications provided by 911Cellular (collectively, the "911Cellular Mobile Applications") to

form the 911Cellular System.

       14.     The 911Cellular Mobile Applications include 911Cellular-branded applications for

various industries or applications, such as Your 911, CampusShield (school safety), and

HealthGuard (healthcare safety).




See https://play.google.com/store/apps/details?id=com.app.healthguard&hl=en_US.

       15.     The 911Cellular Mobile Applications also include applications which are

distributed by 911Cellular but, on information and belief, are branded for, and configured by

911Cellular to the specifications of, 911Cellular’s customers, including college-branded mobile

applications such as Rocky Shield (Fresno State University), FTC Shield (Florida Technical



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College), Nova Safe (Villanova University), LSU Shield (Louisiana State University), and Frog

Shield (Texas Christian University).




See https://play.google.com/store/apps/details?id=com.noocellular.frogsafe&hl=en_US.

       16.     The 911Cellular Bluetooth Panic Button is activated by pressing the button twice:

“Click Twice to Get Help!” See https://www.911cellular.com/bluetooth-panic-buttons/. “When a

Bluetooth panic button is activated, accurate location information and additional (optional)

personal information can be sent to dispatchers who are able to deploy first responders the

quickest.” See id. On information and belief, the communication is routed through the 911Cellular

Mobile Applications. See https://www.911cellular.com/safety-app/ (“Our Bluetooth panic buttons

are easily paired with our safety apps for even faster access to emergency services.”).

       17.     The 911Cellular Mobile Applications are distributed and/or sold by 911Cellular,

including through the Apple App store and the Google Play store.




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See https://apps.apple.com/us/app/campusshield/id1019136154.




See https://play.google.com/store/apps/details?id=com.noocellular.frogsafe&hl=en_US.

       18.     911Cellular imports, offers to sell, and/or sells the 911Cellular System in the United

States, which infringes the Asserted Patent.

       19.     Specifically, the 911Cellular System infringes at least Claims 31, 37, 38, 39 and 40

of the ‘194 Patent. An exemplary claim chart showing the 911Cellular System's infringement of

Claim 39 of the ‘194 Patent is provided below.




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Claim            911Cellular's Infringement
Language
39. A personal   “Our unprecedented safety apps combine a mobile panic button with ‘see
alarm system     something, say something’ functionality.” See
comprising:      https://www.911cellular.com/safety-app/.

a                The 911Cellular System includes one or more of the 911Cellular Mobile
communication    Applications, such as CampusShield or HealthGuard, running on a
device for       smartphone (the communication device). When a user indicates an
transmitting a   emergency, the communication device sends an alert (the signal) to a
signal to a      911Cellular server and/or emergency personnel such as an Emergency
recipient;       Response Team (the recipient).




                 See https://www.911cellular.com/safety-app/.




                 See https://www.911cellular.com/campus-safety/.

                 “For even more community protection, you can easily set up an Emergency
                 Response Team (ERT) to receive alerts when the emergency button is
                 pressed. The ERT will get a text or call with the same pertinent information,


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Claim             911Cellular's Infringement
Language
                  allowing even faster response times for those who may be closer to the
                  scene of an incident.” See https://www.911cellular.com/safety-app/.

                  “The Safety App from 911Cellular, LLC is a smartphone app that allows a
                  person to make an E911 phone call from his/her smartphone at the time of
                  an emergency.” NIST Technical Note 1962, available at
                  https://nvlpubs.nist.gov/nistpubs/TechnicalNotes/NIST.TN.1962.pdf.

                  “Once the person who is in an emergency situation clicks on the
                  ‘Emergency’ button in the Safety App on his/her smartphone, the Basic
                  Service Set Identifier (BSSID) of the Wi-Fi Access Point (AP) the
                  smartphone is connected to is sent over the Internet to the 911Cellular
                  server in the cloud. The server looks up the location of the AP based on the
                  received BSSID, which is unique, and transmits the location to a PSAP
                  along with an appropriate message.” NIST Technical Note 1962, available
                  at https://nvlpubs.nist.gov/nistpubs/TechnicalNotes/NIST.TN.1962.pdf.

                  “The CampusShield safety app puts a mobile blue light in everyone’s
                  pocket with a wide feature set and unprecedented emergency functionality
                  that has helped save lives.

                  The emergency button widget will even allow users to signal for emergency
                  assistance without unlocking their phone.” See
                  https://www.911cellular.com/campus-safety/.

an interface      The 911Cellular system includes a 911Cellular Mobile Application such as
module in         CampusShield or HealthGuard (the interface module) which can cause the
operative         smartphone to transmit the alert to the receiver (controlling the
communication     communication device).
with the
communication     See generally https://apps.apple.com/us/app/campusshield/id1019136154
device for        and
controlling the   https://play.google.com/store/apps/details?id=com.campus_shield&hl=en_
communication     US.
device,
                  “Our unprecedented safety apps combine a mobile panic button with ‘see
                  something, say something’ functionality.” See
                  https://www.911cellular.com/safety-app/.

                  “The CampusShield safety app puts a mobile blue light in everyone’s
                  pocket with a wide feature set and unprecedented emergency functionality
                  that has helped save lives.




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Claim             911Cellular's Infringement
Language
                  The emergency button widget will even allow users to signal for emergency
                  assistance without unlocking their phone.” See
                  https://www.911cellular.com/campus-safety/.

                  “The Safety App from 911Cellular, LLC is a smartphone app that allows a
                  person to make an E911 phone call from his/her smartphone at the time of
                  an emergency.” NIST Technical Note 1962, available at
                  https://nvlpubs.nist.gov/nistpubs/TechnicalNotes/NIST.TN.1962.pdf.

                  “Once the person who is in an emergency situation clicks on the
                  ‘Emergency’ button in the Safety App on his/her smartphone, the Basic
                  Service Set Identifier (BSSID) of the Wi-Fi Access Point (AP) the
                  smartphone is connected to is sent over the Internet to the 911Cellular
                  server in the cloud. The server looks up the location of the AP based on the
                  received BSSID, which is unique, and transmits the location to a PSAP
                  along with an appropriate message.” NIST Technical Note 1962, available
                  at https://nvlpubs.nist.gov/nistpubs/TechnicalNotes/NIST.TN.1962.pdf.

                  See also
                  https://play.google.com/store/apps/details?id=com.campus_shield&hl=en
                  (showing permissions for Campus Shield app including the ability to
                  “directly call phone numbers”).
the interface     The 911Cellular Mobile Applications (the interface module) include both a
module having     user-programmable memory and a user interface that allow users to input
a user-           information. For example, the 911Cellular Mobile Applications include a
programmable      feature called FriendWatch, which allows a user to input emergency
memory and a      contacts and set an activity timer. This functionality necessarily requires a
user interface;   user-programmable memory and a user interface.
and
                  “Before potentially dangerous activities, FriendWatch helps users creates
                  [sic] a virtual safety network with an activity timer that notifies emergency
                  contacts if needed.” See https://www.911cellular.com/safety-app/.




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Claim         911Cellular's Infringement
Language




              See https://www.911cellular.com/campus-safety/spread-the-word/.

              “FriendWatch proves an extra layer of protection for potentially dangerous
              situations. App users can enter emergency contact phone numbers of friends
              and family members in their profile, then activate FriendWatch’s timer
              before the activity (running in the park at night, walking in a parking
              garage). If the timer hits 0:00 before the user enters their personal PIN,
              emergency contacts are notified.” See https://www.911cellular.com/safety-
              solutions-for-cities/.

              As another example, the 911 Cellular Mobile Applications allow users to
              input personal information that may be used in the event of an emergency.

              “When an app user activates the emergency button, accurate location
              information and additional (optional) personal information can be sent to
              dispatchers who are able to deploy first responders the quickest. These
              dispatchers will receive this information through our expertly designed
              911Cellular Portal.” See https://www.911cellular.com/safety-app/
              (emphasis added).

              “Most of the fields in the registration and profile, such as medical
              information, emergency contacts and physical descriptions, are optional and
              you should only fill them out if it’s your desire. . . If on campus, your
              location and profile information will be sent to campus police, so they can
              assist your better.” See https://www.utrgv.edu/police/services/mobile-
              app/index.htm.

              More generally, users create a profile to set up the 911Cellular Mobile
              Applications.

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Claim              911Cellular's Infringement
Language




                   See https://laney.edu/wp-
                   content/uploads/2018/12/How_to_Setup_CampusShield_Desktop.pdf.


a triggering key   The 911Cellular system includes a 911Cellular Bluetooth Panic Button (the
in operative       triggering key) that can be paired (in operative communication with) the
communication      911Cellular Mobile Application (the interface module). When the user
with the           double clicks the triggering key, the interface module causes the
interface          smartphone to transmit an alert (activating the interface module).
module for
activating the     “Ideal for attaching to keychains, lanyards and clothing, 911Cellular’s
interface          Bluetooth panic buttons allow for rapid activation . . . sending hyper-
module,            accurate location information directly to safety forces (and updating
                   periodically if on the move). Using a bluetooth panic button is the quickest
                   way to signal for emergency assistance, especially when access to a
                   computer or smartphone is not possible.” See
                   https://www.911cellular.com/bluetooth-panic-buttons/.

                   “Our Bluetooth panic buttons are easily paired with our safety apps for even
                   faster access to emergency services.” See
                   https://www.911cellular.com/safety-app/.

                   “Using a Bluetooth Safety Button is the quickest possible way to signal for
                   emergency assistance, especially when your phone is not always readily
                   accessible. A quick double click and safety forces can mobilize to the
                   location of the activation, even if you are on the move.” See
                   https://www.911cellular.com/safety-app/.




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Claim             911Cellular's Infringement
Language




                  See https://www.911cellular.com/safety-app/.

wherein the       The 911Cellular Bluetooth Panic Button (the triggering key) and the
triggering key    911Cellular Mobile Applications (the interface module) communicate using
and the           Bluetooth communication protocols. The 911Cellular Bluetooth Panic
interface         Button must include a Bluetooth transmitter to be able to transmit the alarm
module            to the 911Cellular Mobile Applications. The 911Cellular Mobile
respectively      Applications must likewise include a Bluetooth receiver to be able to
include a         receive the alarm from the 911Cellular Bluetooth Panic Button.
Bluetooth™
transmitter and   “Ideal for attaching to keychains, lanyards and clothing, 911Cellular’s
a Bluetooth™      Bluetooth panic buttons allow for rapid activation . . . sending hyper-
receiver for      accurate location information directly to safety forces (and updating
allowing the      periodically if on the move). Using a bluetooth panic button is the quickest
triggering key    way to signal for emergency assistance, especially when access to a
to remotely       computer or smartphone is not possible.” See
activate the      https://www.911cellular.com/bluetooth-panic-buttons/.
interface
module.           “Our Bluetooth panic buttons are easily paired with our safety apps for even
                  faster access to emergency services.” See
                  https://www.911cellular.com/safety-app/.

                  “Using a Bluetooth Safety Button is the quickest possible way to signal for
                  emergency assistance, especially when your phone is not always readily
                  accessible. A quick double click and safety forces can mobilize to the
                  location of the activation, even if you are on the move.” See
                  https://www.911cellular.com/safety-app/.




                  See https://www.911cellular.com/safety-app/.




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       20.     On May 22, 2020, Revolar sent a letter to 911Cellular regarding its infringement of

the '194 Patent via email, FedEx, and certified mail. 911Cellular acknowledged receipt of the letter

in a responsive letter from an attorney representing 911Cellular dated June 2, 2010. As such, 911

Cellular received notice of its infringement no later than May 22, 2020.


                                 FIRST CLAIM FOR RELIEF
                   (Direct Patent Infringement of U.S. Patent No. 7,486,194
                               in violation of 35 U.S.C. § 271(a))

       21.     Revolar incorporates the foregoing paragraphs as if fully set forth herein.

       22.     911Cellular made, has made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale in the United States the 911Cellular System, which include the infringing

features. The 911Cellular System includes the 911Cellular Bluetooth Panic Button and the

911Cellular Mobile Applications that can be used on a variety of remote computing devices and

gather and transmit location-specific information. See the exemplary claim chart provided above.

       23.     By doing so, 911Cellular has directly infringed (literally and/or under the doctrine

of equivalents) at least Claims 31, 37, 38, 39, and 40 of the ‘194 Patent. 911Cellular's infringement

in this regard is ongoing and not limited to the representative claim included in the chart.

       24.     911Cellular has also directly infringed the Asserted Patent by exercising direction

or control over the use of the 911Cellular System by its customers. When 911Cellular's customers

download and use the 911Cellular Mobile Applications, and/or when 911Cellular's customers

purchase the 911Cellular Emergency Button, 911Cellular is putting the 911Cellular System into

service and conditions the benefit received by each customer from using the 911Cellular System

(which utilizes the systems and methods taught by the Asserted Patent), such benefit including

improved data management across a variety of devices, only if the 911Cellular System is used in




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the manner prescribed by 911Cellular. Use of the 911Cellular System in such manner infringes

the Asserted Patent.

       25.     Revolar has been damaged as a result of the infringing conduct by 911Cellular

alleged above. Thus, 911Cellular is liable to Revolar in an amount that adequately compensates

it for such infringements, which, by law, cannot be less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 U.S.C. § 284.

       26.     911Cellular's infringement of the Asserted Patent has been and continues to be

willful and intentional and with full knowledge of the existence and validity thereof.

       27.     The willful and intentional nature of 911Cellular 's infringement entitles Revolar to

an award of treble damages pursuant to 35 U.S.C. § 284, and to an award of its attorneys' fees

pursuant to 35 U.S.C. § 285.

       28.     Revolar will continue to suffer damages and irreparable harm unless 911Cellular is

restrained and enjoined by this Court, pursuant to 35 U.S.C. § 283, from further infringement of

the Asserted Patent.

                               SECOND CLAIM FOR RELIEF
                  (Indirect Patent Infringement of U.S. Patent No. 7,486,194
                           in violation of 35 U.S.C. §§ 271(b) & (c))

       29.     Revolar incorporates the foregoing paragraphs as if fully set forth herein.

       30.     911Cellular has also indirectly infringed the Asserted Patent by inducing others to

directly infringe the Asserted Patent.    911Cellular has induced the end-users, 911Cellular's

customers, to directly infringe (literally and/or under the doctrine of equivalents) the Asserted

Patent in the United States by using the 911Cellular System, 911Cellular Bluetooth Panic Button,

and/or 911Cellular Mobile Applications. 911Cellular took active steps, directly and/or through

contractual relationships with others, with the specific intent to cause them to use the 911Cellular



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System, 911Cellular Bluetooth Panic Button, and/or 911Cellular Mobile Applications in a manner

that infringes one or more claims of the Asserted Patent, including, for example, Claims 31, 37,

38, 39, and 40 of the ‘194 Patent. Such steps by 911Cellular included, among other things,

advising or directing customers and end-users to use the 911Cellular System, 911Cellular

Bluetooth Panic Button, and/or 911Cellular Mobile Applications in an infringing manner;

advertising and promoting the use of the 911Cellular System, 911Cellular Bluetooth Panic Button,

and/or 911Cellular Mobile Applications in an infringing manner; and/or distributing instructions

that guide users to use the accused products in an infringing manner. 911Cellular is performing

these steps, which constitute induced infringement, with the knowledge of the Asserted Patent and

with the knowledge that the induced acts constitute infringement. 911Cellular is aware that the

normal and customary use of the 911Cellular System, 911Cellular Bluetooth Panic Button, and/or

911Cellular Mobile Applications by 911Cellular's customers infringe the Asserted Patent.

911Cellular's inducement is ongoing.

       31.    911Cellular has also indirectly infringed by contributing to the infringement of the

Asserted Patent. 911Cellular has contributed to the direct infringement of the Asserted Patent by

the end-user of the 911Cellular System, 911Cellular Bluetooth Panic Button, and/or 911Cellular

Mobile Applications in the United States. The 911Cellular System, 911Cellular Bluetooth Panic

Button, and/or 911Cellular Mobile Applications have features that are specially designed to be

used in an infringing way and that have no substantial uses other than ones that infringe the

Asserted Patent, including, for example, Claims 31, 37, 38, 39, and 40 of the ‘194 Patent.

Specifically, the 911Cellular System, 911Cellular Bluetooth Panic Button, and/or 911Cellular

Mobile Applications includes an alarm device (i.e., the 911Cellular Bluetooth Panic Button) that

works with the 911Cellular Mobile Applications on a user's smartphone or smart watch to send an



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emergency signal to predetermined recipients. The 911Cellular Bluetooth Panic Button is useless

without the user's smartphone or smartwatch and requires these communication devices to send

the emergency signal. The 911Cellular Mobile Applications include features such as improved

data management across a variety of devices and emergency notification signals that infringe the

Asserted Patent. The 911Cellular Bluetooth Panic Button's features and the 911 Cellular Mobile

Applications' features constitute a material part of the invention of one or more of the claims of

the Asserted Patent and are not staple articles of commerce suitable for substantial non-infringing

use. 911Cellular's contributory infringement is ongoing.

       32.     911Cellular had knowledge of the Asserted Patent at least as of May 22, 2020, and

in no case later than the filing of the Complaint in this action.

       33.     911Cellular's actions are at least objectively reckless as to the risk of infringing a

valid patent and this objective risk was either known or should have been known by 911Cellular.

       34.     911Cellular's indirect infringement of the Asserted Patent is, has been, and

continues to be willful, intentional, deliberate, and/or in conscious disregard of Revolar's rights

under the Asserted Patent.

       35.     Revolar has been damaged as a result of the infringing conduct by 911Cellular

alleged above. Thus, 911Cellular is liable to Revolar in an amount that adequately compensates

it for such infringements, which, by law, cannot be less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 U.S.C. § 284.

       36.     The willful and intentional nature of 911Cellular 's infringement entitles Revolar to

an award of treble damages pursuant to 35 U.S.C. § 284, and to an award of its attorneys' fees

pursuant to 35 U.S.C. § 285.




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       37.       Revolar will continue to suffer damages and irreparable harm unless 911Cellular is

restrained and enjoined by this Court, pursuant to 35 U.S.C. § 283, from further infringement of

the Asserted Patent.

                                      PRAYER FOR RELIEF

       Revolar requests that the Court find in its favor and against 911Cellular, and that the Court

grant Revolar the following relief:

       A.        Judgment that one or more claims of the Asserted Patent has been infringed, either

literally and/or under the doctrine of equivalents, by 911Cellular;

       B.        A permanent injunction enjoining 911Cellular and its officers, directors, agents,

servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in

concert therewith from infringement of the Asserted Patent; or, in the alternative, an award of a

reasonable ongoing royalty for future infringement of the Asserted Patent by such entities;

       C.        Judgment that 911Cellular accounts for and pays to Revolar all damages to and

costs incurred by Revolar because of 911Cellular's infringing activities and other conduct

complained of herein, including an award of all increased damages to which Revolar is entitled

under 35 U.S.C. § 284;

       D.        That this Court declare this an exceptional case and award Revolar its attorneys'

fees and costs in accordance with 35 U.S.C. § 285;

       E.        Pre-judgment and post-judgment interest on the damages caused to it by reason of

911Cellular's infringing activities and other conduct complained of herein; and

       F.        Such other and further relief as the Court may deem just and proper under the

circumstances.




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                              DEMAND FOR JURY TRIAL

      Revolar hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

Procedure.

Dated: August 27, 2020                     Respectfully submitted,

                                            /s/ Andrew Alexander
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                                           Andrew Alexander (0091167)
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                                           COUNSEL FOR PLAINTIFF
                                           REVOLAR TECHNOLOGY INC.




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